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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

    UMG RECORDINGS, INC., et al.,

           Plaintiffs,

    v.                                          Case No. 8:19-cv-00710-MSS-TGW

    BRIGHT HOUSE NETWORKS, LLC,

           Defendant.


         DEFENDANT BRIGHT HOUSE NETWORKS, LLC’S MOTION TO COMPEL


                                    PUBLIC VERSION
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                                                 INTRODUCTION

              Bright House Networks (“BHN”) provided high speed internet service to its subscribers

     until BHN merged with Charter1 in May 2016. Plaintiffs are 63 of the world’s largest record

     labels and music publishers—multi-billion-dollar music conglomerates—and have sued BHN

     on a theory of contributory infringement. 2 Plaintiffs allege that BHN knew about infringing

     Peer-to-Peer (“P2P”) activity by its subscribers as a result of notices of alleged infringement

     sent by the record label Plaintiffs’ (“RLP”) agent the Recording Industry Association of

     America (“RIAA”). However, the notices that the RIAA sent only identify a fraction of the

     works-in-suit and none of the music publisher plaintiffs (“MPP”) sent any notices.

              Despite these glaring evidentiary gaps, Plaintiffs seek windfall statutory damages

     exceeding $1 billion against BHN based on the allegation that BHN’s subscribers infringed

     7,271 works. To defend against these claims, BHN served discovery requests seeking: (1)

     Plaintiffs’ evidence of direct infringement (necessary for Plaintiffs to hold BHN liable); (2)

     Plaintiffs’ purported harm from the alleged infringement and P2P infringement; (3) Plaintiffs’

     own efforts to address P2P infringement; and (4) the actual number of “works” eligible for a

     separate damages award. BHN also served discovery requests relevant to its counterclaims,

     which allege that Plaintiffs knowingly sent false infringement notices. Plaintiffs refuse to

     provide this fundamental discovery. BHN seeks an order requiring Plaintiffs to respond to


     1
       Plaintiffs have separately sued Charter in Colorado on similar claims seeking over a billion dollars. Warner
     Records, Inc., et al. v. Charter Commc’ns., Inc., No. 1:19-cv-00874-RBJ-MEH (“Charter”), and have sued other
     Internet Service Providers (“ISPs”) in several other courts. See, e.g., Sony Music Entm’t v. Cox Commc’ns. Inc.,
     2018 WL 6059386 (E.D. Va. Nov. 19, 2018) (“Sony”); UMG Recordings Inc., et al. v. Grande Comm., 2018 WL
     1096871 (W.D. Tex. Feb. 28, 2018)).
     2
       On July 8, 2020, the Court granted BHN’s motion to dismiss the vicarious liability claim with prejudice, leaving
     only the contributory liability claim. ECF 142.




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     BHN’s Requests for Production (“RFP”) 22, 27, 61, 65, 67, 68, 92, 98, 99, MPP Interrogatory

     13, and RLP Interrogatories 13, 14, 16, and 18. 3

                                           PROCEDURAL HISTORY

             Plaintiffs filed their initial complaint on March 22, 2019, asserting claims for

     contributory infringement and vicarious liability, for 7,554 works. On January 7, 2020,

     Plaintiffs amended their complaint to drop 283 works (the “Dropped Works”). On July 22,

     2020, BHN answered Plaintiffs’ contributory liability claim and asserted two counterclaims:

     for violation of DMCA Section 512(f) and the Florida Deceptive and Unfair Trade Practices

     Act (“FDUPTA”), Fla. Stat. (2019) §§ 501.201 et seq. for knowingly sending BHN inaccurate

     infringement notices in connection with the Dropped Works and for failing to take appropriate

     steps to confirm ownership or actual infringement of those works. As an ISP, BHN cannot

     independently verify whether the information contained within a notice is accurate—it takes

     the notices at face value and processes them in accordance with its policies. Plaintiffs have

     moved to dismiss BHN’s counterclaims.

             The parties met and conferred extensively on the requests at issue in this motion.

     Plaintiffs have flatly refused to provide the fundamental discovery, necessitating this motion.

                                               LEGAL STANDARD

             Parties may seek discovery on “any nonprivileged matter that is relevant to any party’s

     claim or defense and proportional to the needs of the case . . . .” Fed. R. Civ. P. 26(b)(1). The

     Federal Rules “strongly favor full discovery whenever possible.” Johnson v. New Destiny




     3
      BHN’s requests and Plaintiffs’ responses, including the parties’ subsequent correspondence related to the
     same, are attached to the Declaration of Erin Ranahan (“Ranahan Decl.”). Ranahan Decl., Ex. 1-14.


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     Christian Ctr. Church, Inc., No: 6:15–cv–1698–Orl–37GJK, 2017 WL 8948379, at *1 (M.D.

     Fla. Jan. 5, 2017).

                                                REQUESTS AT ISSUE4

     I.         Discovery Fundamental to Statutory Damages

                          a.       MPP Interrogatory 13

     MPP ROG 13: Identify which of the music composition(s) listed on Exhibit B (including any
     amendments to same) to Plaintiffs’ Complaint correspond with (or are embedded within)
     which of the sound recording(s) listed on Exhibit A (including any amendments to same) to
     Plaintiffs’ Complaint, if any.

     Plaintiffs’ Objection and Response: 1. Music Publisher Plaintiffs object to the interrogatory
     as vague, ambiguous, overbroad, unduly burdensome, and not proportional to the needs of the
     case. The phrase “correspond with (or are embedded within)” is vague, ambiguous, and
     overbroad because there are numerous ways that a musical composition and sound recording
     may be related, and it is unclear to what type of relationship BHN is referring. BHN’s use of
     these terms implies distinct definitions for “correspond with” and “embedded within”—
     definitions which BHN has not provided. The burden of researching and listed any possible
     relationship between the musical compositions listed on Exhibit B and the sound recordings
     listing on Exhibit A would be significant, and is not proportional to the needs of this case. 2.
     Music Publisher Plaintiffs object to the interrogatory insofar as it seeks information equally
     and readily available to BHN. 3. Music Publisher Plaintiffs object to the interrogatory because
     whether “music composition(s) listed on Exhibit B . . . correspond with (or are embedded
     within) . . . sound recording(s) listed on Exhibit A” is not relevant to any claim or defense in
     suit. Each sound recording listed on Exhibit A and each musical composition listed on Exhibit
     B has been exploited individually as a standalone work.
     Subject to, and without waiving their objections, Music Publisher Plaintiffs state that each
     musical composition listed on Exhibit B is a standalone work that has been exploited
     individually.

                Argument: The MPPs are music publishers with copyrights to musical compositions

     (lyrics and melody) and the RLPs are record companies with copyrights to sound recordings.

     For the vast majority of the works-in-suit, the sound recording is derivative of the asserted

     musical composition. This means that here, an MPP owns the lyrics to Lady Gaga’s “Bad


     4
         Per the Local Rules, BHN states each request at issue, Plaintiffs’ response and why the motion should be granted.




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     Romance” while a RLP owns the recording, and both copyrights were allegedly infringed when

     a user of a BHN subscriber’s account shared a P2P music file. But when copyrighted works

     are owned by distinct entities and separately copyrightable, the Copyright Act provides that

     the owners of the copyrights are collectively entitled to a single award of statutory damages.

     EMI Christian Music Grp., Inc. v. MP3tunes, LLC, 844 F.3d 79, 101 (2d Cir. 2016).

              Plaintiffs currently assert 4,582 sound recordings and 2,689 musical compositions, for

     a total of 7,271 copyrighted works. Thus, Plaintiffs’ potential maximum statutory damages are

     over $1 billion. However, when the thousands of sound recordings that are derivative of the

     musical compositions are properly accounted for, that number drops precipitously, reducing

     BHN’s potential exposure by hundreds of millions of dollars. 5 In order to bring this case,

     Plaintiffs necessarily had to have determined which of their sound recordings are derivative of

     their musical compositions. This is because the MPPs did not send BHN any notices—rather,

     all notices were sent by the RLPs, which own the sound recordings. After these notices were

     sent, the MPPs determined which of their copyrights were allegedly infringed, so they must

     know the overlap.

              The relevance of this information is clear. In Sony, the court granted Cox’s post-trial

     motion on this precise legal issue, holding that the plaintiffs (many of the same in this case)

     are entitled only to a single award of statutory damages for overlapping sound recordings and

     musical compositions. Similarly, the Special Master in Charter ordered the plaintiffs (again,



     5
       See Sony, ECF 711 (Cox’s Post-Trial Response Regarding Derivative and Dropped Works) (“Removing the
     2,370 derivative works, the 67 works Plaintiffs dropped from the Charter litigation, and one duplicative work—
     a total of 2,438 works—results in a final number of works tally of 7,579. At $99,830.29 per work, that translates
     to a total damages award of $756,613,767.91.”).




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     many of which are the same in this case) to produce this information. 6 The same result is

     warranted here. Plaintiffs should be compelled to provide this information as a verified

     interrogatory response.

                      b.       RLP Interrogatory 13

     RLP ROG 13: Identify which sound recordings listed on Exhibit A (including any
     amendments to same) to Plaintiffs’ Complaint were first issued or released together on or as
     albums or compilations, including for each the name of the corresponding album or
     compilation.

     Plaintiffs’ Objections: 1. Record Company Plaintiffs object to the terms “issued” and
     “released” as vague and ambiguous. BHN’s use of these terms implies distinct definitions for
     each—definitions which BHN has not provided. 2. Record Company Plaintiffs object to the
     term “compilations” as vague and ambiguous, including that it is unclear whether BHN is
     requesting, for example, that Record Company Plaintiffs identify any sound recording on
     Exhibit A that was released together with another sound recording on Exhibit A as part of a
     playlist, a marketing promotion, on a streaming service, a third party product (such as a movie
     soundtrack), or something else. BHN’s use of the terms “albums” and “compilations” implies
     distinct definitions for each—definitions which BHN has not provided. 3. Record Company
     Plaintiffs object to the interrogatory because whether sound recordings were “first issued or
     released together on or as albums or compilations” is not relevant to any claim or defense in
     suit. Each sound recording listed on Exhibit A has been exploited as a standalone work through
     multiple platforms, including online services such as iTunes or Spotify. Each is a distinct
     copyright work, and the manner in which it was first issued or released does not bear on any
     claim or defense in suit. 4. Record Company Plaintiffs object to the interrogatory insofar as it
     seeks information equally and readily available to BHN, including through publicly available
     sources (e.g., the copyright registration certificates state the date on which a recording was first
     published). 5. Record Company Plaintiffs object to the interrogatory as unduly burdensome,
     and not proportional to the needs of the case. A sound recording can be packaged with other
     sound recordings in numerous different ways (e.g., as part of an album, a marketing promotion,
     a playlist, a soundtrack to a movie or dramatic work, or on a streaming service), and it would
     require an unduly burdensome investigation to identify and group together all sound recordings
     on Exhibit A that were released together in any manner. 6. Record Company Plaintiffs object
     to the interrogatory because it contains at least three distinct topics that should be separately
     numbered interrogatories: (1) Which sound recordings in Exhibit A were first issued on
     “albums” or “compilations”; (2) the names of the “albums” and compilations”; and (3) what
     other sound recordings in Exhibit A, if any, were included on the “albums” or “compilations.”



     6
      See Ranahan Decl., Ex. 15, Charter, ECF 190 at 6-8; see also EMI Christian Music Grp., Inc., 844 F.3d at 101
     (placing the burden on the copyright owner to show that works are separate as opposed to parts of compilations).


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              Argument: Interrogatory No. 13 seeks basic information about whether the RLPs’

     works-in-suit were first released on albums or compilations, and, if so, the name of the

     corresponding album or compilations. This is based on the provision in the Copyright Act that

     “all the parts of a compilation or derivative work constitute one work” for the purpose of

     calculating statutory damages. 17 U.S.C. § 504(c) (emphasis added). 7 Thus, the Copyright

     Office has explicitly warned rights holders, like Plaintiffs, of the monetary consequences of

     registering works as compilations.8

              Whether a work-in-suit is a part of compilation is key in this case, as the majority of

     Plaintiffs’ sound recordings were collectively registered albums or compilations. As such, if

     Plaintiffs establish liability, Plaintiffs would only be entitled to a single award per compilation

     or album as opposed to 4,582 separate awards of statutory damages. Based on this reasoning,

     the Charter Special Master recently ordered Plaintiffs to produce this same information, noting

     that “limiting the number of works for which damages are available by even a small fraction

     may have a significant impact on any potential damages.” Ranahan Decl., Ex. 16, Charter,

     ECF 230 at 18-19.

              Further, some courts, including those in the Eleventh Circuit, also consider the context

     in which the individual parts of a compilation were exploited in the market to determine

     whether a separate award of statutory damages is appropriate. Yellow Pages Photos, Inc. v.



     7
       The Copyright Office’s guidance confirms the Act’s plain language. See U.S. Copyright Office, Circular 34 at
     3 (“[A]n album that contains multiple sound recordings … is considered a collective work for purposes of
     registration” and “[a] collective work is considered a single work for purposes of calculating statutory damages.”).
     8
       Id. (“A collective work is considered a single work for purposes of calculating statutory damages…. Thus, when
     you register a number of individual works as part of a collective work, you may be entitled to seek one award
     of statutory damages for the collective work as a whole rather than a separate award for each individual work,
     even if the defendant infringed all of those works.”) (emphasis added).


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     Ziplocal, LP, 795 F.3d 1255, 1263, 1277, 1282 (11th Cir. 2015) (upholding the district court’s

     finding that over 10,000 stock images constituted 178 collections for purposes of statutory

     damages, and in doing so considering how the individual works were exploited and registered

     with the Copyright Office). Here, the information BHN seeks is relevant to the Court’s

     determination of this issue.

            Finally, Plaintiffs should have ready access to this basic information pertaining to the

     release dates of their albums, and Plaintiffs have already been ordered to compile it in Charter.

     BHN should not bear the burden of researching thousands of recordings to determine whether

     any were first released as parts of albums or as singles, particularly given that Plaintiffs would

     inevitably object to this information as unverified or inaccurate. Weighing these issues, the

     Special Master in Charter determined that Plaintiffs’ burden was lower. The same is true here.

                    c.      RFP 22

     RFP 22: All documents concerning the effect from copyright infringement using peer-to-peer
     file sharing technologies on Your projected and actual total revenue and/or profits generated
     during Plaintiffs’ Claim Period.

     Plaintiffs’ Response: Subject to Plaintiffs objections, the Protective Order, and the parties’
     correspondence and discussions during the meet-and-confer process, Plaintiffs will produce
     non-privileged studies, reports, and analyses assessing the financial effect of copyright
     infringement via BitTorrent and other peer-to-peer file sharing networks on Plaintiffs’
     revenues from the works in suit, to the extent such studies, reports, and analyses exist and can
     be found in Plaintiffs’ possession, custody, or control after a reasonable search.

            Argument: Plaintiffs agree to produce some documents responsive to this request but

     refuse to produce documents created after the Claim Period even if they pertain to the Claim

     Period. This artificial distinction makes no sense, as documents reflecting any effects from P2P

     infringement on Plaintiffs’ financials during the Claim Period are just as likely to have been

     created after the time period at issue. For example, a document created in 2017 may outline



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     the effects of P2P infringement for the years prior. Importantly, Plaintiffs do not object based

     on relevance, only that it would be burdensome to search for post-Claim Period-created

     documents. But Plaintiffs should be able to identify the types of documents that outline such

     effects, whether they be financial reports, presentations, white papers, internal memoranda, or

     email updates from key custodians, and then search for those same documents in the years

     immediately following the Claim Period to determine whether they concern the Claim Period.

     Plaintiffs should be compelled to produce these basic documents, which are likely readily

     identifiable and indisputably relevant.

     II.    Discovery Relating to the Accuracy of Plaintiffs’ Notices of Alleged Infringement

                    a.      RFP 65

     RFP 65: All documents pertaining to the relationship, agreement, and/or communications
     between You and/or any other Plaintiff and the RIAA and/or MarkMonitor regarding this
     lawsuit, the Copyright Works, and/or Bright House.

     Plaintiffs’ Response: Subject to Plaintiffs’ objections, the Protective Order, and the parties’
     correspondence and discussions during the meet-and-confer process, Plaintiffs will produce
     non-privileged documents concerning (1) MarkMonitor, and (2) peer-to-peer file sharing
     networks, copyright infringement, Bright House, or the RIAA, to the extent such documents
     exist and can be found in Plaintiffs’ possession, custody, or control after a reasonable search.
     Plaintiffs will also produce non-privileged documents concerning the RIAA, Bright House,
     and copyright infringement, to the extent such documents exist and can be found in Plaintiffs’
     possession, custody, or control after a reasonable search. [March 1, 2012 to May 17, 2016]

     Narrowed RFP 65: For the time period May 1, 2012 through present, documents sufficient to
     demonstrate the relationship, agreement, and/or communications between You and/or any
     other Plaintiff and the RIAA and/or MarkMonitor regarding this lawsuit, the Copyright Works,
     and/or Bright House.

            Argument: Plaintiffs’ notice program was managed by the RIAA. The RIAA in turn

     hired MarkMonitor, a rights monitoring company, to scan P2P networks, identify instances of

     suspected infringement by ISP subscribers, and send ISPs notices about alleged infringements

     occurring on the subscribers’ accounts. Before sending notices MarkMonitor was supposed to


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     use the technology of a company called Audible Magic to verify whether the files allegedly

     being shared did in fact contain copies of Plaintiffs’ copyrighted works. For example, just

     because a file traded was titled “Born to Run” does not mean that the file contained copies of

     tracks from that Bruce Springsteen album, let alone all of the recordings that might be included

     on that album. Indeed, in many instances, files on P2P networks are either mislabeled,

     misleadingly labelled, or contain “duds,” fakes, or corrupted or “polluted” files. 9 Thus,

     MarkMonitor’s work on behalf of Plaintiffs and its utilization of the Audible Magic technology

     is integral to Plaintiffs’ ability to establish direct infringement. 10

              It has come to light that, when Plaintiffs sent notices to BHN between 2013 and 2015,

     Plaintiffs elected a cheaper version of MarkMonitor’s system through which MarkMonitor did

     not actually download a copy (or even a portion of a copy) of the file allegedly being shared

     by BHN’s subscribers. Instead, MarkMonitor merely looked for what it believed were copies

     of files Audible Magic had previously determined were infringing, without ever reviewing any

     file found on a subscriber’s computer. Despite sending notices to BHN between 2013 and

     2015, Plaintiffs did not sue until March 2019. In the years between, Plaintiffs (through their

     agents, including counsel), corresponded with the RIAA and MarkMonitor to develop the

     evidence for their case against BHN that was not collected by MarkMonitor when the alleged

     infringement was allegedly occurring. Some of that post-hoc evidence has been produced in


     9
       Ranahan Decl., Ex. 17 (Santos, et al. Funnel: Choking Polluters in BitTorrent File Sharing Communities,
     IEEE Transactions on Network and Service Management, vol. 8, no. 4, pp. 310-321 (December 2011)).
     10
        GlobalOptions Servs., Inc. v. N. Am. Training Grp., Inc., 131 F. Supp. 3d 1291, 1299 (M.D. Fla. 2015) (“[F]or
     a party to be held liable for a claim of contributory infringement, there must first be a finding
     of direct infringement.”) (citing Peter Letterese & Assocs., Inc. v. World Inst. of Scientology Enters., Int'l, 533
     F.3d 1287, 1298 n. 11 (11th Cir. 2008). Plaintiffs do not contest that both the RIAA and MarkMonitor are central
     to this case, and disclosed them both in their Initial Disclosures. See Ranahan Decl., Ex. 18 (Plaintiffs’ Initial
     Disclosures).


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     this case in the form of a hard drive, which contains certain files that (according to their

     metadata) were first downloaded by MarkMonitor between March 2016 and December 2018.




                                                                                                           , two

     years after the claims period in this case closed and three and a half years after the last notice

     at issue was sent. This spreadsheet has been produced by Plaintiffs, though none of the

     underlying data has been made available.



                                 In short, Plaintiffs intend to rely on MarkMonitor and Audible Magic

     evidence that post-dates the period for which they are prepared to provide discovery. To

     understand the basis for the selectively produced MarkMonitor work product (and the nature

     of its omissions) BHN has requested that Plaintiffs be compelled to produce responsive

     documents through the present. Plaintiffs’ proposed response, which limits their production to

     the Claim Period that ended in May 2016,12 is unacceptable because it would excise from their

     production all of their communications and documents with the RIAA and MarkMonitor


     11
       The agreement has been produced in Charter and Plaintiffs stated that they would be producing it here too.
     12
       Plaintiffs did not send any notices of alleged infringements to BHN for the works in suit after March 2015—
     the last year of the “Claim Period” (March 24, 2013-May 17, 2016).


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     concerning the evidence purportedly supporting Plaintiffs’ direct infringement claim during

     the very period of time when Plaintiffs were gathering the evidence.

             Further, Plaintiffs’ proposed response is far too narrow because it is limited to

     documents that concern MarkMonitor. However, BHN seeks documents between Plaintiffs

     and the RIAA and/or MarkMonitor regarding three topics: (1) this lawsuit, (2) the works-in-

     suit, and/or (3) BHN. BHN requests that Plaintiffs be compelled to provide search terms that

     address the scope of BHN’s request. If nothing else, communications from RIAA about the

     results of the MarkMonitor investigation should be produced. Beyond that, BHN’s request is

     already narrowly-tailored to seek only relevant documents, irrespective of the date they were

     created. Plaintiffs’ communications with MarkMonitor and the RIAA concerning this lawsuit,

     the works in suit, and BHN are indisputably relevant regardless of when they were produced. 13

             Plaintiffs’ claim that some post-Claim Period documents may be privileged is not a

     reason to bar the discovery. BHN intends to challenge Plaintiffs’ claim of privilege over its

     communications with MarkMonitor, particularly as they relate to Plaintiffs’ efforts to compile

     evidence in support of proving direct infringement. At a minimum, Plaintiffs cannot use some

     of MarkMonitor’s findings to assert liability, and at the same time use an alleged privilege to

     shield discovery of the circumstances under which those findings were made or of other

     findings that may not be so helpful.14 Moreover, there can be no privilege attaching to

     communications with the non-attorneys whose communications are sought here. To the extent


     13
        In Charter, Plaintiffs only produced the RIAA’s agreement with MarkMonitor, which was entered into on
     Plaintiffs’ behalf, after a court order to produce all agreements between Plaintiffs and MarkMonitor. Plaintiffs
     have yet to produce that same agreement in this case, though they agree to do so.
     14
        F.T.C. v. CyberSpy Software, LLC, No. 6:08-CV-1872-ORL-31, 2009 WL 8708856, at *2 (M.D. Fla. May 26,
     2009) (“The attorney-client privilege is meant as a shield and not as a sword.”).




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     that evidence was compiled in anticipation of litigation, that work may or may not be subject

     to the work product doctrine, but that doctrine is, of course, defeasible, depending on what is

     being protected and what is otherwise available. Here, the ability to challenge any work

     product claim is important to the case, as Plaintiffs’ only evidence of direct infringement are

     MarkMonitor’s investigations and notices, and the purported accuracy of the MarkMonitor

     system that generated them. Plaintiffs have produced some of this information, as they must in

     order to establish direct infringement. Plaintiffs should be compelled to produce the rest,

     including any responsive documents and a log of any documents over which Plaintiffs claim

     privilege so that BHN can investigate and challenge the privilege claim as appropriate.

                    b.     RFP 67

     RFP 67: All documents concerning any technical or qualitative analysis of any computer code,
     computer program, software, hardware, system, process, or device utilized to identify
     infringement and/or produce the copyright notices which were sent to Bright House or upon
     which You will rely in this litigation, including any documents drafted by the Center for
     Copyright Information (“CCI”), MarkMonitor, Stroz Friedberg, or Harbor Labs.

     Plaintiffs’ Response: Subject to Plaintiffs’ objections, the Protective Order, and the parties’
     correspondence and discussions during the meet-and-confer process, Plaintiffs will produce,
     for the time period of March 1, 2012 to May 17, 2016, non-privileged analyses of the computer
     code utilized to identify infringement and/or produce the infringement notices that were sent
     to Bright House and Charter during the claim period of March 24, 2013 to May 17, 2016, to
     the extent such analyses exist and can be found in Plaintiffs’ possession, custody, or control
     after a reasonable search. Plaintiffs will not, however, produce any such documents that relate
     solely to the Copyright Alert System.

     Narrowed RFP 67: Documents concerning any technical or qualitative analysis of any
     computer code or other systems responsible for the process in identifying infringement and/or
     producing the infringement notices that were sent to Bright House or upon which You will rely
     in this litigation, including any documents drafted by the Center for Copyright Information
     (“CCI”), MarkMonitor, StrozFriedberg, or Harbor Labs.

            Argument: Plaintiffs sent notices to ISPs under two separate programs: (i) participants

     in the Copyright Alert System (“CAS”) and (ii) non-participants. While the programs were


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     distinct, MarkMonitor was the rights monitoring company that identified the alleged

     infringement on P2P networks, generated the notices, and ultimately sent the notices to the

     ISPs, and used the exact same technology and system in both programs. Plaintiffs have agreed

     to produce technical and qualitative analyses of the system used to send notices to BHN.

     Plaintiffs have taken the position, however, that if the technical or qualitative analysis was

     commissioned as part of the CAS, or by an entity affiliated with the CAS, the document is per

     se non-responsive.

             There are at least two significant technical analyses performed on MarkMonitor’s

     system, which were commissioned as part of the CAS. Because these important documents

     would be withheld under Plaintiffs’ proposal, Plaintiffs’ position is plainly untenable. Notably

     in Sony, many of the same plaintiffs (represented by some of the same counsel) acknowledged

     that these analyses were responsive to an identical request—i.e., analyses of the MarkMonitor

     system used to send notices to non-CAS ISPs. Given this admission, Plaintiffs should be

     compelled to provide the same responsive documents here, irrespective of whether the

     document was commissioned as part of the CAS or otherwise. Moreover,




                Ranahan Decl., Ex. 19 (MM000023). As a consequence, a technical analysis of

     either program is relevant to the issue of the reliability of the technology relied on in this case.

             Plaintiffs should also be compelled to search for and produce documents created after

     the Claim Period. The request is reasonably limited to technical analyses of the system used to



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     send notices to BHN. If Plaintiffs conducted an analysis in later years regarding this system,

     that is directly responsive to BHN’s request and should be produced. Further, if Plaintiffs, in

     consultation with the RIAA, MarkMonitor, or any other entity, analyzed the system used to

     generate the notices at issue in this case while investigating their claims against BHN, which

     is highly likely, that is also responsive and should be produced. The reliability of Plaintiffs’

     evidence of direct infringement is central to this case, and the reliability of that evidence is

     premised on the accuracy of MarkMonitor’s system. Plaintiffs should be compelled to produce

     this probative information.

                    c.      RFP 68

     RFP 68: All documents and correspondence relating to the reliability and/or efficacy of the
     MarkMonitor System, including but not limited to audits related thereto, and documents and
     communications with MarkMonitor, Stroz Friedberg, and/or Harbor Labs pertaining to any
     technical assessments of the MarkMonitor System.

     Plaintiffs’ Response: Subject to their objections and the Protective Order, Plaintiffs will
     produce responsive, non-privileged documents in their possession, custody, or control, for the
     period from January 1, 2013 to May 17, 2016, concerning the reliability of the MarkMonitor
     system used to produce the copyright notices sent to Charter upon which Plaintiffs will rely in
     this litigation, to the extent located following a reasonable and diligent search.

     Narrowed RFP 68: For the time period May 1, 2012 through present, documents and
     correspondence addressing the reliability and/or efficacy of the MarkMonitor System,
     including but not limited to audits related thereto, and documents and communications with
     MarkMonitor, Stroz Friedberg, and/or Harbor Labs containing or addressing any technical
     assessments of the MarkMonitor System.

            Argument: For the same reasons stated above with respect to RFP 67, Plaintiffs

     should be compelled to search for and produce responsive documents through present.




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                    d.      RFP 92

     RFP 92: For the Copyrighted Works, copies of the digital files You used (or provided to a
     third party to use) to create a digital fingerprint through the Audible Magic System that were
     used by Audible Magic and/or MarkMonitor in connection with the creation of the
     infringement notices sent to Bright House.

     Plaintiffs’ Response: Plaintiffs have or will produce digital copies of the recordings in suit
     and infringing copies of the works in suit.

            Argument: MarkMonitor utilized the technology of another third-party, Audible

     Magic, to purportedly “confirm” that the audio file allegedly shared on P2P networks by ISP

     subscribers actually contained a copy of Plaintiffs’ copyrighted work. To do this, Plaintiffs

     either sent legitimate copies of their works to Audible Magic or utilized Audible Magic’s

     technology in order to create a unique digital fingerprint of the sound file. The copies of the

     files from which these fingerprints were made are called “reference files.” MarkMonitor in

     turn downloaded files from P2P networks purportedly comprising illegitimate copies of the

     reference files, and asked Audible Magic to compare fingerprints of them to the fingerprints

     of the reference files. If the fingerprints of the reference file and the fingerprint of the

     downloaded file matched, then MarkMonitor considered the copy being traded on P2P

     networks to contain an illegitimate copy of Plaintiffs’ copyrighted works. MarkMonitor would

     send notices when it subsequently identified ISP users sharing that same illegitimate file.

     Critically, however, MarkMonitor never again downloaded a copy of that file from an ISP user

     to confirm that the file being shared did in fact contain a copy of Plaintiffs’ copyright works.

     MarkMonitor instead entirely relied solely on its initial comparison of the legitimate reference

     file fingerprint to the downloaded file fingerprint. The plaintiffs in Charter recently revealed,

     for the first time, and after months of briefing on this issue, that Plaintiffs did not retain the




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     digital fingerprints comprising the reference file.15 And Audible Magic has represented to BHN

     that the reference fingerprint database is dynamic in nature, so that the contents of that database

     as of the relevant period cannot be reconstructed. The Charter plaintiffs nonetheless

     represented that they are able to utilize International Standard Recording Codes (“ISRCs”) to

     determine what versions of the works-in-suit were used as reference files. Plaintiffs have not,

     however, produced anything to establish which ISRCs were used in this process, how they

     were selected, or what works were identified by them. As a result of these revelations, the

     Charter Special Master compelled this information.16 BHN seeks the same information here.

                       e.        RFP 99

     RFP 99: Documents sufficient to show Your process for verifying the accuracy of the
     information in Notices of Alleged Infringement before they were sent on Your behalf. For the
     avoidance of doubt, the term “information in Notices of Alleged Infringement” is any of the
     information concerning the allegedly infringed work, any information concerning the alleged
     infringement, any information concerning the IP address at which the alleged infringement
     occurred, and any statement that the sender is authorized to send such Notice of Alleged
     Infringement.

     Plaintiffs’ Objection and Response: Plaintiffs object to this Request as overly broad, unduly
     burdensome, irrelevant, not proportional to the needs of the case, including because it (1) seeks
     documents that are not relevant to any claim or defense at issue in the case; (2) incorporates a
     definition of “information in Notices of Alleged Infringement” that, by its terms, is not limited
     to information included in a Notice of Alleged Infringement; (3) is not limited to the RIAA
     notice program that resulted in Plaintiffs’ infringement notices to Bright House; and (4) is not
     limited to the relevant time period at issue in this case. Plaintiffs object to this Request as vague
     and ambiguous as to the phrase “IP address at which the alleged infringement occurred.”
     Plaintiffs object to this Request to the extent it calls for documents not within Plaintiffs’
     possession, custody, or control. Plaintiffs further object to this Request to the extent it calls for
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        BHN separately requested the digital fingerprints with its RFP 93. In light of the Charter plaintiffs’
     representations that they did not retain copies of the fingerprints, BHN does not move to compel Plaintiffs’
     production of those files here. However, BHN reserves its rights to revisit this request, should it learn more during
     the course of discovery.
     16
        Plaintiffs were recently ordered to “produce documents sufficient to show which files were fingerprinted,
     including the information upon which Plaintiffs relied in order to represent that the digital files Plaintiffs have
     produced to date have the same ISRCs as the files from which the Audible Magic Reference Files were created.
     To the extent that the reference files themselves exist, those files shall be produced pursuant to this order.”
     Ranahan Decl., Ex. 16, Charter, ECF 230 at 26.


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     information protected by the attorney-client privilege, attorney work-product doctrine, joint
     defense or common-interest privilege, or any other privilege or immunity recognized by federal
     or state law. Plaintiffs further object to this Request insofar as it seeks public documents
     available to Bright House, including trial testimony from Sony Music Entertainment v. Cox
     Communications, Inc. Subject to and without waiving their objections, Plaintiffs have
     produced or will produce responsive, non-privileged documents in their possession, custody,
     or control sufficient to demonstrate MarkMonitor’s process for monitoring and detecting
     infringements by Bright House’s subscribers and sending infringement notices to Bright
     House, to the extent such documents can be located following a reasonable and diligent search.

             Argument: It is unclear why Plaintiffs refuse to produce documents sufficient to

     demonstrate their process for verifying the accuracy of the notices upon which they rely for

     their claims. Beyond the steps MarkMonitor took to purportedly verify the information

     contained within their notices, Plaintiffs also were required to take steps to ensure that they

     owned the works allegedly being shared on P2P networks. And they were required to ensure

     that the version of the work they identified matched the version they owned. If Plaintiffs did

     not have a process to ensure the accuracy of this information, then Plaintiffs should be

     compelled to say so. If they did have a process, then Plaintiffs should be compelled to produce

     documents sufficient to show the process.

                     f.      MPP Interrogatory 15 and RLP ROG 14

     MPP ROG 15: For each music composition listed on Exhibit B (including any amendments
     to same) to Plaintiffs’ Complaint, identify each RIAA Notice that references the allegedly
     infringed file corresponding to that music composition.

     RLP ROG 14: For each sound recording listed on Exhibit A (including any amendments to
     same) to Plaintiffs’ Complaint, identify each RIAA Notice that references the allegedly
     infringed file corresponding to that sound recording.

     Plaintiffs’ Objection to MPP ROG 15: 1. Music Publisher Plaintiffs object to the
     interrogatory insofar as it seeks information equally and readily available to BHN, including
     by using the hash information included in the RIAA notices. 2. Music Publisher Plaintiffs
     object to the interrogatory to the extent it seeks to obtain expert opinions prior to the period for
     expert discovery. 3. Music Publisher Plaintiffs object to the interrogatory as overbroad, unduly
     burdensome, and not proportional to the needs of the case.



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     Plaintiffs’ Objection to RLP ROG 15: 1. Record Company Plaintiffs object to the
     interrogatory insofar as it seeks information equally and readily available to BHN, including
     by using the hash information included in the RIAA notices. 2. Record Company Plaintiffs
     object to the interrogatory to the extent it seeks to obtain expert opinions prior to the period for
     expert discovery. 3. Record Company Plaintiffs object to the interrogatory as overbroad,
     unduly burdensome, and not proportional to the needs of the case.

             Argument: MPP Interrogatory 15 asks Plaintiffs to identify the specific notices for

     each of the MPP’s works-in-suit. Plaintiffs clearly had to have this information in order to file

     suit. See FAC ¶ 96 (alleging the notices indicate BHN’s subscribers infringed the works-in-

     suit). For this reason, the Charter plaintiffs have already been ordered to produce this

     information (although they are currently objecting to the order). Plaintiffs should be compelled

     to produce the same information here because the information provides the foundation for

     Plaintiffs’ secondary infringement claim. Indeed, Plaintiffs have alleged that BHN’s

     knowledge of the purported infringement—an element of Plaintiffs’ contributory liability

     claim—derives from the notices. But, on their face, Plaintiffs’ notices only identify

     approximately 25% of the 4,582 sound recordings in suit. Moreover, because the MPPs did not

     send any notices to BHN, none of their musical compositions are identified either. In order to

     have filed suit on the 75% of the works not identified in the notices by name, the MPPs had to

     have determined which of their musical compositions are implicated by the RLP’s notices.

     And the RLPs had to have determined which of their unidentified 3,000-plus sound recordings

     are allegedly implicated by their notices.

             Plaintiffs wrongly claim BHN can do this work on its own for the 75% of works-in-

     suit that are not actually identified in the notices (worth approximately $500,000 in added

     statutory damages) through a convoluted series of steps involving cryptographic hash numbers



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     and several voluminous spreadsheets produced by Plaintiffs, and by manually listening to

     music on the contested MarkMonitor hard drive that purportedly contains tens of thousands of

     what Plaintiffs describe as the “infringing files.” It makes no sense to require BHN to do this

     given that Plaintiffs have already made this factual determination and have ready access to the

     information. Plaintiffs’ burden is less than BHN’s, and they should be compelled to respond

     to BHN’s interrogatories and provide verified responses about Plaintiffs’ factual contentions

     regarding a critical component of their prima facie case.17

     III.     Plaintiffs’ Anti-Piracy Efforts and the Effect from Peer-to-Peer Infringement

                       a.       RFP 27

     RFP 27: All documents that mention, refer to, or relate to Bright House and/or the above-
     captioned litigation that were created, received, or sent from 2013 to the present.

     Plaintiffs’ Response: Subject to their objections, the Protective Order, and the parties’
     correspondence and discussions during the meet-and-confer process, Plaintiffs will produce
     responsive, non-privileged documents in their possession, custody, or control concerning
     Bright House and copyright infringement for the time period January 1, 2013 to May 17, 2016,
     to the extent located following a reasonable and diligent search. Notwithstanding the
     foregoing, Plaintiffs respond that they will not produce documents responsive only to the part
     of this request pertaining to “the above-captioned litigation.”

              Argument: As discussed with RFP 65, the requested post-Claim Period documents are

     necessary to explore Plaintiffs’ coordination with third-parties MarkMonitor, Audible Magic,

     and the RIAA in the development of the evidence Plaintiffs intend to rely upon to prove direct

     infringement by BHN’s subscribers, including any efforts undertaken by outside counsel. The




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        In Charter, the plaintiffs claimed that their expert may perform an analysis “along the lines of what Charter
     seeks.” Even if that were true (which it is not), it is irrelevant, as BHN is not seeking the expert analysis and is
     entitled to a factual answer to its interrogatories on this foundational point during fact discovery. Indeed, in
     Charter, the Special Master rejected this very point. Ranahan Decl., Ex. 15, Charter, ECF 190 at 10 (“Contrary
     to Plaintiffs’ assertion, the information sought by MPP interrogatory 15 and RCP interrogatory 14 is basic factual
     information that will need to be set forth in order for Plaintiffs to establish liability.”).


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     evidence is also necessary to test the accuracy of the infringement data and to explore what the

     infringement data means. To the extent Plaintiffs claim that any documents are privileged, they

     should be compelled to search for and log them so BHN can assess the validity of the claim.

                    b.      RFP 61

     RFP 61: Documents sufficient to demonstrate the specific actions You undertook in the last
     ten (10) years that were intended to reduce the infringement of Your Copyright Works and/or
     any of Your other copyrighted works, including any amount of money you expended on these
     actions.

     Plaintiffs’ Response: Subject to their objections and the Protective Order, Plaintiffs will
     produce notices of infringement in their possession, custody, or control that are related to the
     copyrighted works in suit and were sent to Charter by or on behalf of Plaintiffs, to the extent
     located following a reasonable and diligent search.

     Narrowed RFP 61: Documents sufficient to demonstrate the actions Plaintiffs took and costs
     spent over the last ten years, as related to the following anti-piracy measures, including but not
     limited to those involving the RIAA, the IFPI, the NMPA, and/or any other such organizations
     that assisted in these measures: P2P notice programs, P2P spoofing campaigns, Digital Rights
     Management (DRM) or other types of digital content-protection measures Plaintiffs
     implemented or, conversely, considered but elected not to implement, and threatened or actual
     litigation as related to alleged P2P infringement against entities developing or hosting P2P
     networks, such as BitTorrent, Ares, Gnutella, and eDonkey. Documents sufficient to
     demonstrate these measures should include any internal or external presentations, reports,
     white papers, summaries, notes, or other comprehensive documents regarding potential
     antipiracy measures, ongoing antipiracy measures, and the efficacy of antipiracy measures
     implemented.

            Argument: Plaintiffs’ anti-piracy efforts are relevant to the issue of mitigation,

     whether advanced as an affirmative defense or a factor the jury may consider when deciding a

     “just” amount of statutory damages. See, Malibu Media, LLC v. Zumbo, No. 2:13-CV-729-

     JES-DNF, 2014 WL 2742830, at *3-4 (M.D. Fla. June 17, 2014) (holding that “because

     [courts] ha[ve] broad discretion in determining how to award statutory damages and may

     consider actual damages as a factor in making that determination, a failure to mitigate damages

     may remain relevant, particularly because one purpose of statutory damages is to approximate



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     actual damages that are difficult to prove.”) Id. (collecting cases). Indeed, this is because

     “‘[s]tatutory damages are not intended to provide a plaintiff with a windfall recovery’; they

     should bear some relationship to the actual damages suffered.” Clever Covers, Inc. v. Sw. Fla.

     Storm Def., LLC, 554 F. Supp. 2d 1303, 1313 (M.D. Fla. 2008) (quoting Peer Internat’l Corp.

     v. Luna Records, 887 F.Supp. 560, 569 (S.D.N.Y.1995)).

             Plaintiffs will no doubt put on evidence at trial here, as they did in Sony, that online

     piracy has decimated Plaintiffs’ respective businesses. Ranahan Decl., Ex. 20 (Sony Trial Tr.)

     29:19-23, 38:20-39:19; 1739:15-17; 1742:19-20; 1743:9-18; 2972:16-17; 2975:14-2976:6.

     BHN needs to be able to take the requested discovery to provide proper context to this

     allegation. BHN has reason to believe that, in the years during which Plaintiffs complain P2P

     infringement was at its peak, Plaintiffs massively cut their anti-piracy budgets. Plaintiffs could

     have taken reasonable steps to thwart some of their harm if they truly believed they were being

     harmed and if curtailing this infringement was an actual goal, but they did not. Thus, RFP 61

     is necessary to support BHN’s position that Plaintiffs could have spent far less to help curb

     alleged infringement than Plaintiffs are seeking as damages though this lawsuit. The amount

     that could have been spent to avoid the harm should be weighed against the windfall damages

     Plaintiffs are seeking.

            Additionally, Plaintiffs allege that online P2P infringement “undercuts the legitimate

     music market, depriving Plaintiffs and those recording artists and songwriters whose works

     they sell and license the compensation to which they are entitled.” FAC, ¶ 102. BHN is entitled

     to demonstrate that Plaintiffs could have avoided, and thus have failed to mitigate, those

     alleged harms. Because the court must consider the harm to Plaintiffs from any alleged



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     infringement, evidence pertaining to mitigation is squarely relevant. The required discovery

     will also help the jury to decide (if it finds in Plaintiffs’ favor on liability) the degree to which

     BHN should be held responsible for Plaintiffs’ alleged harm, or whether responsibility should

     be allocated to Plaintiffs or non-parties (such as the direct infringers or the creators of the P2P

     networks). Indeed, the DMCA safe harbor was created so that innovation was not stifled with

     threats of astronomical liability against service providers, and to encourage content owners to

     cooperate with ISPs to combat infringement.

                     c.      RLP Interrogatory 16

     RLP ROG 16: Explain in detail the process for selecting the works that were monitored as
     part of the RIAA Notice Program.

     Plaintiffs’ Objection: 1. Record Company Plaintiffs object to this Interrogatory as overly
     broad, unduly burdensome, irrelevant, and not proportional to the needs of the case, including
     because it (1) seeks information that is not relevant to any claim or defense at issue in the case;
     (2) is not limited to works at issue in the case; (3) is not limited to the RIAA notice program
     that resulted in Plaintiffs’ infringement notices to Bright House; and (4) is not limited to the
     relevant time period at issue in this case. 2. Record Company Plaintiffs object to this
     Interrogatory as vague and ambiguous as to the terms “[e]xplain in detail,” “process,”
     “selecting,” “monitored,” and “RIAA Notice Program.” 3. Record Company Plaintiffs object
     to this Interrogatory to the extent it calls for information protected by the attorney-client
     privilege, attorney work-product doctrine, joint defense or common-interest privilege, or any
     other privilege or immunity recognized by federal or state law.

             Argument: The information sought by this request is relevant for two reasons. First,

     evidence showing which works Plaintiffs elected to monitor (versus those that were not

     monitored) will help the jury understand that Plaintiffs valued the works-in-suit differently

     and, importantly, elected to not protect certain works. If Plaintiffs establish liability, this

     information is relevant to the jury’s determination of statutory damages. Second, evidence

     showing how frequently Plaintiffs monitored their works is important to refute Plaintiffs’

     infringement claims. If there are no notices for a particular work during a particular time



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     period, but Plaintiffs have represented that they were actively monitoring that work during that

     time period, BHN can show that that work was not infringed by any BHN subscriber during

     that time period. The ability to demonstrate that certain works were not infringed will be

     helpful to rebut Plaintiffs’ argument that it is impossible to measure the extent of infringement

     of their works on P2P networks, based on their claim that MarkMonitor’s system only captures

     a small fraction of the actual infringement occurring day in and day out. Plaintiffs’ over-stated

     claims regarding the extent of P2P infringement can be contextualized, and the information

     sought by this request allows for that.

                    d.      RLP Interrogatory 18

     RLP ROG 18: Describe in detail all actions You have taken against Bright House subscribers
     who You allege infringed the Noticed Works.

     Plaintiffs’ Objection: 1. Record Company Plaintiffs object to this Interrogatory as overly
     broad, unduly burdensome, irrelevant, and not proportional to the needs of the case, including
     because it (1) seeks information that is not relevant to any claim or defense at issue in the case;
     (2) is not limited to works at issue in the case; (3) is not limited to the RIAA notice program
     that resulted in Plaintiffs’ infringement notices to Bright House; and (4) is not limited to the
     relevant time period at issue in this case. 2. Record Company Plaintiffs further object to this
     Interrogatory on the grounds that the actions they took or did not take against Bright House
     subscribers who infringed Plaintiffs’ works are utterly irrelevant to any issue in this case, as it
     is Bright House’s secondary liability that is at issue here. Record Company Plaintiffs were not
     and are not required to take any direct action against Bright House’s subscribers in order to
     assert their claims against Bright House for Bright House’s failure to address rampant, repeat
     infringement by its subscribers. 3. Record Company Plaintiffs further object to the Request
     because it relies on information exclusively within Bright House’s possession, custody, or
     control—namely, the identity of the Bright House subscribers who were the subject of
     Plaintiffs’ notices of infringement— which Bright House itself has identified and cannot now
     identify because it systematically deleted information pertaining to Plaintiffs’ infringement
     notices. 4. Record Company Plaintiffs object this Interrogatory as vague and ambiguous as to
     the terms “[d]escribe in detail” and “actions.”

            Argument: The information sought by this request is relevant to mitigation, whether

     as an affirmative defense or as a factor to be considered by the jury when determining statutory




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     damages. If Plaintiffs were aware of BHN subscribers who received disproportionate amounts

     of notices but elected not to take any further action available to them, such as filing a lawsuit

     against the subscriber directly, the jury should be able to consider such evidence. The fact that

     Plaintiffs may not know the identity of all of BHN’s subscribers is not a basis to oppose the

     discovery, as the request only requires Plaintiffs to respond with the information currently

     available. If Plaintiffs are aware of any direct actions taken against BHN subscribers, they

     should respond. If they are not aware of having taken any such action, they should

     unequivocally state this.

     IV.    Discovery Relating to Bright House’s Counterclaims

                    a.      RFP 98

     RFP 98: Documents sufficient to demonstrate Your ownership of, or possession of an
     exclusive right in, each of the Dropped Works at the time You sent a Notice of Alleged
     Infringement for that Dropped Work, and that You were authorized to send Notices of Alleged
     Infringement concerning those works between January 2013 and March 2015.

     Plaintiffs’ Objection: Plaintiffs object to this Request as overly broad, unduly burdensome,
     irrelevant, and not proportional to the needs of the case, including because it (1) seeks
     documents concerning works that are not issue in the case; (2) seeks documents regarding
     Plaintiffs’ authorization to send Notices of Alleged Infringement concerning works without
     regard to whether those works were in fact the subject of a Notice of Alleged Infringement;
     and (3) is not limited to the relevant time period at issue in this case. Plaintiffs object to this
     Request as vague and ambiguous as to the term “authorized to send.” Plaintiffs further object
     to this Request to the extent it calls for information protected by the attorney-client privilege,
     attorney work-product doctrine, joint defense or common-interest privilege, or any other
     privilege or immunity recognized by federal or state law. Pursuant to the foregoing objections,
     Plaintiffs will not produce documents responsive only to this Request.

            Argument: BHN’s counterclaims allege that Plaintiffs knowingly sent false notices

     related to the Dropped Works and that the RIAA, acting on Plaintiffs’ behalf, either falsely

     claimed it was authorized to send the notices, or failed to exercise reasonable diligence in

     claiming it had authority to send the notices, in violation of 17 U.S.C. § 502(f) and the



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     FDUPTA. The information sought by this request is necessary to establish that Plaintiffs did

     not own the Dropped Works at the time notices were sent. Further, BHN should be entitled to

     explore why Plaintiffs sent notices on the Dropped Works, sued on them, and subsequently

     dropped them. This discovery may not be thwarted simply because a motion to dismiss BHN’s

     counterclaims is pending. Such a practice is strongly disfavored, and courts routinely deny

     requests to stay or delay discovery while a motion to dismiss is pending. See e.g., Regions

     Bank v. Kaplan, No. 8:12-CV-1837-T-17MAP, 2014 WL 12810531, at *1 (M.D. Fla. Jan. 31,

     2014) (“[M]otions to stay discovery are disfavored and are not ordinarily granted…”).

     Plaintiffs should produce documents in response to RFP 98.


     Dated: August 17, 2020
                                                       Respectfully submitted,

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                        CERTIFICATE OF GOOD FAITH CONFERENCE

            Pursuant to Local Rule 3.01(g), I hereby certify that counsel for the movant has

     conferred with all parties or non-parties who may be affected by the relief sought in this

     motion in a good faith effort to resolve the issues but has been unable to do so.

                                           s/ Erin R. Ranahan
                                           Erin R. Ranahan




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                                    CERTIFICATE OF SERVICE

            I certify that on August 17, 2020, a true and correct copy of the foregoing was filed

     with the Court via CM/ECF which will send a notice of electronic filing to the parties of record.

                                           s/ Erin R. Ranahan
                                           Erin R. Ranahan




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